          Case 18-71478               Doc 4-1 Filed 10/11/18 Entered 10/11/18 10:46:57                                 Desc Ch 7
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Information to identify the case:
Debtor 1              Thomas Leo Sundberg                                               Social Security number or ITIN        xxx−xx−9887
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Central District of Illinois
                                                                                        Date case filed for chapter 7 10/11/18
Case number:          18−71478


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Thomas Leo Sundberg

2.      All other names used in the
        last 8 years

3.     Address                               101 Foxhill Circle Apt. F
                                             Bloomington, IL 61701

4.     Debtor's attorney                     Michael James Meyers                                   Contact phone 309−827−3030
                                             Ostling & Associates, LTD
       Name and address                      201 W. Olive St.                                       Email: mmeyers@ostlinglaw.com
                                             Bloomington, IL 61701

5.     Bankruptcy trustee                    Jeffrey D Richardson                                   Contact phone 217−425−4082
                                             132 S Water St, Suite 444
       Name and address                      Decatur, IL 62523                                      Email: jdrdec@aol.com
                                                                                                               For more information, see page 2 >
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Debtor Thomas Leo Sundberg                                                                                                   Case number 18−71478


6. Bankruptcy clerk's office                   226 US Courthouse                                               Hours open 8:00 am − 5:00 pm
                                               600 E Monroe Street
   Documents in this case may be filed at this Springfield, IL 62701                                           Contact phone 217−492−4551
   address. You may inspect all records filed
   in this case at this office or online at     Visit www.ilcb.uscourts.gov for this court's mandatory
   www.pacer.gov.                               electronic filing policy.
                                                                                                               Date: 10/11/18

7. Meeting of creditors                         November 19, 2018 at 10:30 AM                                  LOCATION:
   Debtors must attend the meeting to be        The meeting may be continued or adjourned to a
   questioned under oath. In a joint case, both                                                                Law and Justice Center,
   spouses must attend. Creditors may attend, later date. If so, the date will be on the court docket.         Courtroom 3E, 104 W Front
   but are not required to do so.
                                                                                                               St, Bloomington, IL 61701
8. Presumption of abuse                         The presumption of abuse does not arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. § 707(b).
   Debtors may rebut the presumption by
   showing special circumstances.

9. Deadlines                                  File by the deadline to object to discharge or to Filing deadline: 1/18/19
                                              challenge whether certain debts are
   The bankruptcy clerk's office must receive dischargeable:
   these documents and any required filing
   fee by the following deadlines.
                                                You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).

                                                Deadline to object to exemptions:                              Filing deadline: 30 days after the
                                                The law permits debtors to keep certain property as exempt. If conclusion of the meeting of creditors
                                                you believe that the law does not authorize an exemption
                                                claimed, you may file an objection.

10.Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof
                                                of claim now. If it later appears that assets are available to pay creditors, the clerk will
   Please do not file a proof of claim unless   send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.               deadline.

11.Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                    asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                    United States bankruptcy law if you have any questions about your rights in this case.

12.Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                                You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If
                                                you believe that the law does not authorize an exemption that the debtors claim, you may
                                                file an objection. The bankruptcy clerk's office must receive the objection by the deadline
                                                to object to exemptions in line 9.
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